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                                     #1025



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

JOHNNY JOHNSON, et al.,

      Defendants.                                           No. 04-CR-30029-DRH

                                      ORDER


HERNDON, District Judge:

             Now before the court is defendant Johnny Johnson’s sixth Motion to

Continue Sentencing (Doc. 313). In light of defendant Johnson’s agreement to

provide testimony for the government at the trial of Quawntay Adams and the most

recent continuance of this trial to March 3,2008, defendant Johnson wishes to

continue sentencing until at least thirty (30) days after the conclusion of the

Quawntay Adams trial. Further, in his Motion, Johnson also states that he has

“several partially blocked arteries that may require surgical intervention between

now and December, 2007" (Doc. 313, p. 2).

             The Court finds a continuance warranted to allow defendant Johnson

time to tend to his medical needs, however, the Court no longer sees the benefit in

continuing the sentencing date in conjunction with the many continuances of the trial

for defendant Adams.     Although defendant Johnson’s would prefer to provide


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testimony at defendant Adams’s trial prior to being sentenced, such a chronology of

events is not required. Many co-defendants who have plead and then chose to testify

for the Government during the trial of the remaining codefendants are often

sentenced first. In fact, this District receives far more Rule 35 petitions than it does

Rule 5k1.1 Motions. Defendant Johnson will not be prejudiced if he is sentenced

prior to testifying for the Government during the trial for defendant Adams.

Therefore, the Court GRANTS Johnson’s Motion to Continue (Doc. 313), but

DENIES defendant Johnson’s request to continue the hearing until after the

completion of the trial for defendant Adams. Accordingly, he Court CONTINUES the

sentencing hearing for defendant Johnny Johnson scheduled for October 26, 2007

at 9:30 a.m. to Friday, January 18, 2008 at 1:30 p.m.

             IT IS SO ORDERED.

             Signed this 5th day of September, 2007.


                                                        /s/    DavidRHerndon
                                                        United States District Judge




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